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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION

  UNITED STATES OF AMERICA,
                                                      CR 17-20-BLG-SPW-1
                        Plaintiff,

  vs.                                                  ORDER

  JAMES THEODORE TOMS, II,

                        Defendant.

        Defendant having filed an Unopposed Motion for Change of Plea Hearing

(Doc. 48) on September 15, 2017,

        IT IS HEREBY ORDERED that the trial set for September 25, 2017 is

VACATED.

        IT IS FURTHER ORDERED that a change of plea hearing is set for

Wednesday, September 20, 2017at10:30 a.m. in the James F. Battin U.S.

Courthouse, Billings, Montana, at which time the court will consider his motion to

c.hange his plea of not guilty to a plea of guilty.   The time between September 15,

2017 and September 20, 2017 is excludable under the Speedy Trial Act, 18 U.S.C.

§3161 (h)(l )(D).

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DATED this _#day of September, 2017.


                                ~ fl_uJ,z;C6;~,
                                   SlJSANP.WATTERS
                                   U.S. DISTRICT JUDGE




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